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                        IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF PENNSYLVANIA
                                                    :
RICHARD A. GORMAN,                                  :
                                                    :
                   Plaintiff,                       :
                                                    :
v.                                                  :
                                                    : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                      :
                                                    :
                                                    :
                   Defendant.                       :
                                                    :
                                                    :


               DECLARATION OF MATTHEW J. PRESS, ESQUIRE
                  IN SUPPORT OF MOTION TO PRACTICE IN
     THIS COURT PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)


      I, Matthew J. Press, a member of the bar of the State of New York, declare as follows:

            1.       I am currently admitted to practice in the following state jurisdictions:


                          State                  Admission Date              Attorney ID Number


                       New York                      July 1999                      2987519



            2.       I am currently admitted to practice in the following federal jurisdiction:

                 Court Where Admitted             Admission Date             Attorney ID Number

                     USDC SDNY                      March 2002                      MP-4194

                     USDC EDNY                           2011                       MP-4194

                   USCA Second Cir                       2015                       MP-4194



       3.            I served as a Law Clerk for the Honorable Herbert J. Hutton in the Eastern

District of Pennsylvania in 1997.

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          4.     I have not previously been suspended, disbarred, publicly reprimanded, or

otherwise disciplined in any jurisdiction, and I am not currently subject to any disciplinary

proceedings.


          5.     I have read the most recent edition of the Pennsylvania Rules of Professional

Conduct and the Local Rules of this Court and agree to be bound by both sets of Rules for the

duration of the case for which this pro hac vice admission is sought.


          6.     If granted pro hac vice status, I will in good faith continue to advise counsel

who has moved for my pro hac vice admission of the current status of the case and of all material

developments in the case for which pro hac vice status has been granted.


          7.     I declare under the penalty of perjury and under the laws of the United States

that the foregoing statements are true and correct to the best of my knowledge, information, and

belief.


                                              By: ______________________________
                                              Matthew J. Press, Esquire
                                              PRESS KORAL LLP
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                                              New York, NY 10022
                                              Phone: 212-922-1111
                                              Email: mpress@presskoral.com

                                              Attorneys for Defendant Ilya Shpetrik




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